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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                  Chief Judge Marcia S. Krieger

 Criminal Action No. 12-cr-00010-MSK

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.     GEORGE H. ASKEW,
 2.     ROMELL E. BULLOCK,
 3.     GREGORY A. COLLINS,
 4.     GEORGE A. GADDY,
 5.     DELBERT J. GARDNER,
 6.     RICHARD W. JOHNSON,
 7.     SHEPS H. KHAMSAHU,
 8.     ERIC LUGO,
 10.    JOHNIE A. MYERS,
 11.    DARRELL R. PARKER,
 12.    CALVIN R. RILEY,
 13.    COREY L. RILEY,
 14.    THOMAS A. SCHRAH, JR.,
 15.    JAMES R. SWITZER,
 16.    CLIFFORD M. WRIGHT,

        Defendants.

 _____________________________________________________________________________
         ORDER FOR COMPETENCY EXAMINATION AND DETERMINATION


        A hearing was held on the 10th day of January, 2013, on the Government’s motion [763]

 requesting this Court order a mental competency examination as to defendant George A. Gaddy

 pursuant to 18 U.S.C. § 4241. The Government appeared by Assistant United States Attorney

 Guy Till. The Defendant appeared in person and by counsel, Jeffrey R. Edelman. Upon

 consideration of the motion, counsel’s statements, the pleadings in this matter, and the Court’s

 observation of Defendant, the Court granted the Government’s motion [800]. The Court finds

 and concludes:

        1.        Pursuant to 18 U.S.C. §4241(a), there is reasonable cause to believe the

 Defendant may presently be suffering from a mental disease or defect rendering him mentally

 incompetent to the extent that he is unable to understand the nature and consequences of the

 proceedings against him or to assist properly in his defense.


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        2.      The Defendant is on bond pending the conclusion of this case.

        3.      Pursuant to 18 U.S.C. § 4247(b), the Defendant will undergo a

 psychiatric/psychological evaluation by Susan Bograd, M.D., to be completed

 within 60 days of the date of this order. The Defendant will cooperate fully with Dr. Bograd as

 requested. The Defendant has agreed to sign waivers, releases and requests for production of his

 Department of Veterans Affairs (VA) records and Department of the Army or Department of

 Defense records, to include any medical records. Proposed waivers, releases and requests will

 be generated by counsel and presented to the Defendant by defense counsel. Once signed, the

 waivers, releases and requests will be transmitted to the VA or other responsible government

 agency. A copy of this order may be transmitted to such government agency to secure the

 prompt attention and cooperation of such agency. Such records shall be provided to the defense

 and Dr. Bograd for use in relation to this case.

        4.      The psychological, psychiatric, and/or neuropsychological reports of

 Dr. Bogard shall be prepared and filed with the Court pursuant to 18 U.S.C. § 4247(c).

        5.      Pursuant to 18 U.S.C. § 3161(h)(1)(A), the Court finds that the delay

 resulting from the determination of the Defendant’s mental competency to stand trial is excluded

 from the time within which trial must commence.

        It is ORDERED that:

        1.      The Government’s Motion to Determine Mental Competency of Defendant
 [763] is GRANTED, and

        2.      The competency evaluation shall be accomplished by Susan Bograd, M.D., 3300

 East First Avenue, Suite 590, Denver, Colorado 80206, Phone 303-320-1968, Fax 322-2155;

        3.      The Defendant is ordered to cooperate fully with Dr. Bograd in support of the

 competency evaluation and sign any releases Dr. Bograd deems appropriate;

        4.      The examination shall be completed within 60 days from the date of this order,

 counsel shall assist Dr. Bograd to file the report with the Court, and either party may request the

 report to be filed as a restricted level 2 document;

        5.      Dr. Bograd shall have reasonable access to the Defendant’s Department




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 of the Army or Department of Defense records and the Defendant’s VA medical and disability

 related records or other VA records maintained on behalf of the Defendant, George A. Gaddy;

 and

        6.      That pursuant to the provisions of 18 U.S.C. § 4247(c)(1)-(4), the

 psychiatric or psychological report submitted by Dr. Bograd shall include the following:

                a.     The Defendant’s history and present symptoms;

                b.     A description of the psychiatric, psychological, and medical tests

 that were employed or relied upon to develop the report and the results of such tests;

                c.     The examiner’s findings;

                d.     The examiner’s opinion about whether the Defendant is suffering from a

 mental disease or defect rendering him mentally incompetent to the extent that he is unable to

 understand the nature and consequences of the proceedings against him or to assist properly in

 his defense; and

                e.     The examiner’s opinions as to the diagnosis and prognosis for the

 Defendant.

        7.      If necessary, the Government and counsel for the Defendant shall assist

 Dr. Bograd in identifying the Defendant’s medical providers and obtaining reasonable access for

 Dr. Bograd to review the records.

        DATED this 15th day of January, 2013.

                                                      BY THE COURT:




                                                      Marcia S. Krieger
                                                      Chief United States District Judge




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